                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
JULY 19, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK


ALEX A.                                                               CIVIL ACTION

VERSUS
                                                                      22-573-SDD-RLB
JON BEL EDWARDS, ET AL.


          This matter came on this day for a Status Conference.

          PRESENT:     David J. Utter, Esq.
                       Nancy Rosenbloom, Esq.
                       Susan M. Meyers, Esq.
                       Counsel for Plaintiff

                       Lemuel E. Montgomery, III, Esq.
                       Connell Lee Archey, Esq.
                       Allena Brooke McCain, Esq.
                       Counsel for Office of Juvenile Justice

                       Jonathan R. Vining, Esq.
                       Counsel for Department of Corrections

          This matter is set for a Preliminary Injunction hearing to be on August 15, 2023,

commencing at 9:00 a.m., in Courtroom Three.

          The following deadlines were established:

          Counsel for Defendants shall notify the Court whether they intend to withdraw the

Motion to Dismiss1 on standing by July 21, 2023.




1
    Rec. Doc. 102.
          Opposition to the Motion for Preliminary Injunction2 shall be filed by July 28, 2023.

Any replies, limited to no more than 10 pages, shall be filed by July 31, 2023.

          The parties shall meet and confer to submit a joint proposed discovery scheduling

order on or before July 21, 2023. If assistance is required from the court, a telephone

conference may be set.

                                             *****
CV 36/45 mins.




2
    Rec. Doc. 163.
